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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


COLUMBIA GAS TRANSMISSION,          )
LLC,                                )
                                    )
                                    )
               Plaintiff,           )               Civil Action No. 17-1297
                                    )
          v.                        )               Judge Cathy Bissoon
                                    )
AN EASEMENT TO CONSTRUCT,           )               Magistrate Judge Robert C. Mitchell
OPERATE AND MAINTAIN A 20-INCH )
GAS TRANSMISSION PIPELINE           )
ACROSS PROPERTIES IN                )
WASHINGTON COUNTY AND               )
ALLEGHENY COUNTY, PA., OWNED )
BY MCC INTERNATIONAL, INC., et al., )
                                    )
               Defendants.          )


                                     MEMORANDUM ORDER

       This case was referred to United States Magistrate Judge Robert C. Mitchell for pretrial

proceedings in accordance with the Magistrates Act, 28 U.S.C. §§ 636(b)(l)(A) and (B), and

Rules 72.C, 72.D and 72.G of the Local Rules for Magistrate Judges.

       On April 25, 2018, the Magistrate Judge issued a Report and Recommendation (Doc. 63)

recommending that Plaintiff’s Renewed Motion for Partial Summary Judgment and Immediate

Access and Possession of Easements on Property Owned by Cecyle Klaphake, Trustee of the

William Klaphake and Cecyle Klaphake Revocable Living Trust (Doc. 51) be granted. Service of

the Report and Recommendation was made on the parties, and Defendant Cecyle Klaphake

timely filed objections (Doc. 64).

       This Court conducted a de novo review of the issues raised by Defendant’s objections,

together with the Report and Recommendation (the “Report”). For the reasons that follow, the
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Court will adopt the Report as the opinion of the District Court, with minor changes described

below, and will grant Plaintiff’s Motion.

       Plaintiff seeks immediate access to and possession of easements on Defendant’s property

through this eminent domain action under the Natural Gas Act, 15 U.S.C. §§ 717-717z, for the

purpose of replacing a segment of Plaintiff’s interstate natural gas pipeline. Plaintiff holds a

certificate of public convenience and necessity (“Certificate”) from the Federal Energy

Regulatory Commission (“FERC”) authorizing this replacement. However, the Natural Gas Act

makes eminent domain proceedings available only when the Certificate holder “cannot acquire

by contract, or is unable to agree with the owner of the property to the compensation to be paid

for” the necessary rights. 15 U.S.C. § 717f(h). Defendant argues, in sum, that Plaintiff’s rights

to the easements have already been acquired by contract and thus that the instant eminent domain

proceedings are unavailable to Plaintiff.

       Defendant argues that, contrary to the Report: (1) Plaintiff presently possesses a valid

agreement with Defendant governing the pipeline easements, (2) Defendant properly may raise

her easement agreement as an objection to the condemnation proceedings, (3) the agreement

covers the rights that Plaintiff seeks through the instant proceedings, (4) the FERC Certificate

disavows coverage of certain rights at issue in this case, and Plaintiff is not entitled to seek

condemnation of rights that are beyond the scope of the Certificate, and (5) there is no basis for

finding that the existing agreement fails to cover the rights that Plaintiff seeks.

       The Court finds that many of Defendant’s objections can be addressed through the

language of the existing easement agreement, and the Court thus begins its analysis with the

agreement. The Report correctly states that the language of the easement agreement contradicts

Defendant’s claim that the agreement covers Plaintiff’s right to lay its new pipeline. (Report 13.)
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The easement agreement—by the plain and ordinary meaning of its terms—provides Plaintiff the

right to lay “a second line of pipe alongside of the first line.” Specifically, the agreement

provided the right for Plaintiff’s predecessor in interest “to lay a 20 inch pipe line and maintain,

operate, repair and remove said line along a line which has been surveyed for the state,” and also

the future right to “lay, maintain, operate, repair and remove a second line of pipe alongside of

the first line.” (Report 4.) There is no plausible interpretation under which the existing

agreement provides Plaintiff the right to lay a new line of pipe wherever it pleases on

Defendant’s property once the first line has been laid along the surveyed route. Plaintiff’s right

under the agreement is to lay a second line of pipe alongside the first; the route across

Defendant’s property authorized by the FERC Certificate is not “alongside” the first. (See

Exhibit B to Plaintiff’s Reply Brief, Doc. 62-2.) As a result, Defendant’s first, third, and fifth

objections are unpersuasive; the existing easement agreement does not cover Plaintiff’s right to

lay pipe on the FERC-approved route and Defendant cannot unilaterally amend the agreement

for her own benefit by waiving the word “alongside.”

        Concerning Defendant’s second objection, the Court does not reach the question of

whether a party may object to a Natural Gas Act eminent domain proceeding based on the

existence of a prior agreement governing the same rights. The facts of this case present no

opportunity for the Court to do so, as Defendant’s agreement with Plaintiff does not cover the

rights that Plaintiff seeks to acquire.

        Finally, as to the fourth objection, it is useful to draw a distinction between Defendant’s

right to a farm tap on the existing pipeline (or another pipeline alongside the first one), laid

pursuant to the easement agreement, and her right to a farm tap on a pipeline laid pursuant to the

FERC Certificate and the instant condemnation proceedings. The Court agrees with Defendant
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that FERC expressly disavowed its ability to determine the rights of the parties under existing

easement agreements. Therefore, any rights that Defendant may have to a farm tap or to non-

abandonment under the existing agreement, with respect to property covered by that agreement,

are yet to be determined.1 The Court finds that the rights of access and possession that Plaintiff

seeks to acquire through the instant Motion are clearly within the scope of the FERC Certificate.

       Accordingly, the following Order is entered:

       Plaintiff’s Renewed Motion for Partial Summary Judgment and Immediate Access and

Possession of Easements on Property Owned by Cecyle Klaphake, Trustee of the William

Klaphake and Cecyle Klaphake Revocable Living Trust (Doc. 51) is GRANTED, and the Report

and Recommendation of Magistrate Judge Mitchell dated April 25, 2018, as augmented above,

is hereby adopted as the opinion of the District Court.

       IT IS FURTHER ORDERED that Columbia Gas Transmission, LLC is granted

immediate access to and possession of the easements sought on Parcel ID No. 140-006-00-00-

0025-00, located in Allegheny County, Pennsylvania, on and after May 15, 2018.

       IT IS FURTHER ORDERED that, pursuant to Federal Rule of Civil Procedure 65(c),

Columbia Gas Transmission, LLC shall post a bond in the amount of $375,000.2



1
  Concerning a farm tap, the easement agreement states: “Tap to be installed on this line at point
nearest the residence.” (Report 4.) Defendant has raised claims concerning her rights under the
easement agreement in a parallel lawsuit, Klaphake v. Columbia Gas Transmission, LLC, Civil
Action No. 17-1359, also before the Court.
2
  Federal Rule of Civil Procedure 65(c) states that “the court may issue a preliminary injunction .
. . only if the movant gives security in an amount that the court considers proper to pay the costs
and damages sustained by any party found to have been wrongly enjoined.” In setting the
amount of the bond, the Court should “err[] on the high side” because recourse against the bond
may be the only recourse available in the event an injunction is wrongful. Columbia Gas
Transmission, LLC v. An Easement To Construct, 2017 WL 544596, at *5 (W.D. Pa. Feb. 9,
2017). In Civil Action No. 17-1359, Columbia Gas Transmission has represented through a
sworn affidavit that $375,000 is the approximate cost of removing and disposing of the existing
pipeline on the Klaphake Farm. (Exhibit B to Opposition to Remand to State Court at ¶ 7, Civil
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       IT IS SO ORDERED.




May 8, 2018                                         s\Cathy Bissoon
                                                    Cathy Bissoon
                                                    United States District Judge


cc (via ECF email notification):

All Counsel of Record




Action No. 17-1359, Doc. 13-4.) The amount of $375,000 is thus an estimate of the costs that
one would incur to remove and dispose of a pipeline on the Klaphake Farm, if such removal
were to become necessary. This amount can be considered an upward bound on Defendant’s
recovery if she is found to have been wrongly enjoined and, as an extreme result, she must pay
for the removal of the wrongfully installed pipeline. Cf. Steckman Ridge GP, LLC v. An
Exclusive Natural Gas Storage Easement, 2008 WL 4346402, at *11 (W.D. Pa. Sept. 19, 2008)
(“if a FERC-regulated gas company was somehow permitted to abandon a pipeline project (and
possession) in the midst of a condemnation proceeding, the company would be liable to the
landowner for the time it occupied the land and for any ‘damages resulting to the [land] and to
fixtures and improvements, or for the costs of restoration.’” (quoting 4 Nichols on Eminent
Domain § 12E.01 (2018))).
